        Case 2:07-cr-00081-SAB                       ECF No. 689        filed 01/03/12      PageID.1470 Page 1 of 2
PROB 12C                                                                                            Report Date: January 3, 2012
(7/93)«13792»«Daugherty, Timothy J» «11» «17»

                                                    United States District Court

                                                                    for the

                                                     Eastern District of Washington

                             Petition for Warrant or Summons for Offender Under Supervision


  Name of Offender: Timothy J Daugherty                                  Case Number: 2:07CR00081-001
  Address of Offender: Spokane County Jail: 1100 W. Mallon, Spokane, Washington 99260
  Name of Sentencing Judicial Officer: The Honorable Fred Van Sickle, Senior U.S. District Judge
  Date of Original Sentence: 12/17/2007
  Original Offense:                    Uttering Fictitious Securities of Private Entities, 18 U.S.C. § 514(a)(2)
  Original Sentence:                   Prison - 40 Months;               Type of Supervision: Supervised Release
                                       TSR - 36 Months
  Asst. U.S. Attorney:                 Stephanie J. Lister               Date Supervision Commenced: 11/18/2010
  Defense Attorney:                    John Barto McEntire, IV           Date Supervision Expires: 5/17/2013


                                                      PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 01/02/2011.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number                    Nature of Noncompliance

               4                    Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                                    crime.

                                    Supporting Evidence: On January 20, 2011, a warrant was issued for Mr. Daugherty’s
                                    arrest, due to the allegations made that the offender had violated his conditions of
                                    supervision, including failing to report his change of address. Mr. Daugherty’s whereabouts
                                    where unknown to U.S. Probation from January 10, through April 14, 2011. Timothy
                                    Daugherty was arrested by the Lynnwood Police Department for Forgery, per RCW:
                                    9A.60.020(3), on April 14, 2011. Subsequently, on April 15, 2011, Mr. Daugherty was
                                    arrested by the Monroe Police Department for Identity Theft, per RCW: 9.35.020

                                    On September 30, 2011, Mr. Daugherty was sentenced in Snohomish County Superior
                                    Court, in relation to case # 11-1-00306-4, to 29 months imprisonment, to be served
                                    concurrently, for forgery and unlawful possession of instruments of financial fraud.
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     01/03/2012
                                                                        s/M.D. Elvin
                                                                        M.D. Elvin
                                                                        Deputy Chief U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [x]       The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Other
                                                                         s/ Fred Van Sickle

                                                                        Signature of Judicial Officer
                                                                        January 3, 2012

                                                                        Date
